
PER CURIAM.
Appellant’s Rule 3.8501, 33 F.S.A. petition was denied without an evidentiary hearing. From the appellate presentation it appears to be conceded and without dispute that this was error. Pitts v. State, Fla.1971, 247 So.2d 53. Accordingly, the appealed order should be reversed and the cause remanded with respectful instructions to appoint new counsel for appellant (other than the Public Defender of Palm Beach County) and to afford appellant an evidentiary hearing upon the merits of his petition.
Reversed and remanded, with instructions.
REED, C. J„ and WALDEN and OWEN, JJ., concur.

. Florida Rules of Criminal Procedure.

